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                         UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION



UNITED STATES OF AMERICA,                )      CASE NO. 1:15cr163-4
                                         )
                                         )
                     Plaintiff,          )      JUDGE CHRISTOPHER A. BOYKO
                                         )
              Vs.                        )
                                         )
AHMERR ELLIS,                            )      ORDER ADOPTING
                                         )      REPORT AND RECOMMENDATION
                                         )      OF MAGISTRATE JUDGE
                                         )
                    Defendant.           )


      The above Defendant, accompanied by counsel, proffered a plea of guilty

before Magistrate Judge Baughman to Counts One, Fourteen and Thirty in the

Indictment. The Court finds that the Defendant’s proffer of guilt was made under oath

knowingly, intelligently and voluntarily and that all requirements imposed by the United

States Constitution and Fed.R.Crim.P. 11 are satisfied. THEREFORE, the Court adopts

the Report and Recommendation of Magistrate Judge Baughman, approves the plea

agreement, accepts the Defendant’s offer of guilt and finds the Defendant guilty as

charged in the Indictment.

      The signed Plea Agreement shall be filed as of the date of this Order.



      IT IS SO ORDERED.

                                                s/Christopher A. Boyko
Date 4/5/2016                                   CHRISTOPHER A. BOYKO
                                                United States District Judge
